               Case 3:19-bk-30972                     Doc 5          Filed 03/28/19 Entered 03/28/19 15:21:25              Desc Main3/28/19 3:17PM
                                                                     Document      Page 1 of 2

 Fill in this information to identify your case:

 Debtor 1                  Todd F. Wollenhaupt
                           First Name                       Middle Name               Last Name

 Debtor 2
 (Spouse if, filing)       First Name                       Middle Name               Last Name


 United States Bankruptcy Court for the:              SOUTHERN DISTRICT OF OHIO

 Case number
 (if known)
                                                                                                                         Check if this is an
                                                                                                                            amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                12/15


If you are an individual filing under chapter 7, you must fill out this form if:
 creditors have claims secured by your property, or
 you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
        on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                               secures a debt?                                    as exempt on Schedule C?


    Creditor's         Ally Financial                                      Surrender the property.                      No
    name:                                                                  Retain the property and redeem it.
                                                                           Retain the property and enter into a         Yes
    Description of 2018 Ford F250 Super Duty                                Reaffirmation Agreement.
    property       12,000 miles                                            Retain the property and [explain]:
    securing debt: VIN: 1FTBF2B64JEB34938



    Creditor's         Fox Ridge Villas Homeowners'                        Surrender the property.                      No
    name:              Associatio                                          Retain the property and redeem it.
                                                                                                                         Yes
                                                                           Retain the property and enter into a
    Description of        8416 MCEWEN RD Dayton, OH                          Reaffirmation Agreement.
    property              45458 Montgomery County                          Retain the property and [explain]:
    securing debt:        Parcel Number: O67 28421 0006


    Creditor's         Nationstar/mr Cooper                                Surrender the property.                      No
    name:                                                                  Retain the property and redeem it.
                                                                           Retain the property and enter into a         Yes
    Description of        8416 MCEWEN RD Dayton, OH                          Reaffirmation Agreement.
                          45458 Montgomery County

Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                           page 1

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            Case 3:19-bk-30972                        Doc 5          Filed 03/28/19 Entered 03/28/19 15:21:25                         Desc Main3/28/19 3:17PM
                                                                     Document      Page 2 of 2

 Debtor 1      Todd F. Wollenhaupt                                                                   Case number (if known)


     property           Parcel Number: O67 28421 0006                     Retain the property and [explain]:
     securing debt:

 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                             Will the lease be assumed?

 Lessor's name:                                                                                                                No
 Description of leased
 Property:                                                                                                                     Yes

 Lessor's name:                                                                                                                No
 Description of leased
 Property:                                                                                                                     Yes

 Lessor's name:                                                                                                                No
 Description of leased
 Property:                                                                                                                     Yes

 Lessor's name:                                                                                                                No
 Description of leased
 Property:                                                                                                                     Yes

 Lessor's name:                                                                                                                No
 Description of leased
 Property:                                                                                                                     Yes

 Lessor's name:                                                                                                                No
 Description of leased
 Property:                                                                                                                     Yes

 Lessor's name:                                                                                                                No
 Description of leased
 Property:                                                                                                                     Yes

 Part 3:      Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

 X     /s/ Todd F. Wollenhaupt                                                      X
       Todd F. Wollenhaupt                                                              Signature of Debtor 2
       Signature of Debtor 1

       Date        March 28, 2019                                                   Date




Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                     page 2

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